






						NO. 12-02-00072-CR



IN THE COURT OF APPEALS
	


TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS


CARLIMOY JERMAINE SASH,§
		APPEAL FROM THE 114TH

APPELLANT


V.§
		JUDICIAL DISTRICT COURT OF


THE STATE OF TEXAS,

APPELLEE§
		SMITH COUNTY, TEXAS

                                                                                                                                                            

MEMORANDUM OPINION


PER CURIAM


	The jury found Appellant Carlimoy Jermaine Sash guilty of the offense of sexual assault of
a child, and assessed his punishment at seven years of confinement in the Texas Department of
Criminal Justice-Institutional Division.  Appellant subsequently filed a notice of appeal.  We affirm.

	Appellant's counsel, in compliance with Anders v. California, 386 U.S. 738 (1967) and
Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969), states that she has diligently reviewed
the appellate record and is of the opinion that the record reflects no reversible error and there is no
error upon which an appeal can be predicated.  She further relates that she is well acquainted with
the facts in this case.  In compliance with Anders, Gainous, and High v. State, 573 S.W.2d 807
(Tex. Crim. App. 1978), Appellant's brief presents a chronological summation of the procedural
history of the case, and further states that Appellant's counsel is unable to present any arguable
points of error. (1)  We have likewise reviewed the record for reversible error and have found none.  

	As required by Stafford v. State, 813 S.W.2d 503 (Tex. Crim. App. 1991), Appellant's
counsel has moved for leave to withdraw.  We carried the motion for consideration with the merits
of the appeal.  Having done so and finding no reversible error, Appellant's counsel's motion for
leave to withdraw is hereby granted and the judgment of the trial court is affirmed. 



Opinion delivered January 22, 2003.

Panel consisted of Worthen, C.J., and Griffith, J.


































(DO NOT PUBLISH)
1.  Counsel for Appellant provided Appellant with a copy of his brief and Appellant was given time to file his
own brief in this cause.  The time for filing such a brief has expired and we have received no pro se brief.


